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                                  CERTIFICATE OF SERVICE

         I, the undersigned counsel of record, in accordance with Federal Rule of Civil

  Procedure 5(a), certify that on this 27th of May, 2021, I emailed the foregoing responses to the

  individuals identified on the Service List below.


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                                        IN THE UNITED STATES DISTRICT COURT
                                       FOR THE NORTHERN DISTRICT OF INDIANA
                                                SOUTH BEND DIVISION

                 HEATHER R. FITZGERALD, on behalf                )
                 of herself and all others similarly situated,   )
                                                                 )
                                 Plaintiff,                      ) Case No. 3:20-cv-01004-DRL-MGG
                                                                 )
                         v.                                      ) Hon. Damon R. Leichty
                                                                 )
                 FOREST RIVER MANUFACTURING,                     )
                 LLC                                             )
                                                                 )
                                 Defendant.                      )

                    OPT-IN PLAINTIFF TAMMY VANTINE1 OBJECTIONS AND ANSWERS TO
                                  

                                                    GENERAL OBJECTIONS

                       Opt-in Plaintiff (Plaintiff) objects to      

                       1.      They are premature and seek information not presently available to Plaintiff, but

             which may be revealed as discovery continues.

                       2.      They are overly broad, burdensome, and not proportional to the needs of the case,

             considering the importance of the issues at stake in the action, the amount in controversy,

                        

             Interrogatories in resolving the issues in this case, and burden or expense of responding to the

             Interrogatories outweigh their likely benefit.

                       3.      They seek the disclosure of information or documents subject to the attorney-

             client privilege, attorney work product doctrine, and any other applicable privileges or

             protections. Plaintiff similarly objects to any Interrogatory which seeks information relating to

             the impressions, conclusions, or opinions of individuals which Plaintiff does not intend to


             1
                 fka Tammy Samuels.


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             produce as witnesses at the trial of this matter, including, but not limite   

             or non-legal experts, on the grounds that such information falls within the scope of the attorney-

             client privilege and/or attorney work product immunity, is irrelevant and immaterial to the

             subject litigation, and/or is not proportional to the needs of the case.

                     4.       They seek to impose obligations upon Plaintiff which are different from or

             beyond those permitted or required by the Federal Rules of Civil Procedure, as well as other

             applicable rules of this Court.

                     5.       They require Plaintiff to speculate as to the information or documents Defendant

             seeks. Such requests are vague, indefinite, ambiguous, and lack a readily discernible meaning.

                     6.       They overlap or are redundant.

                     7.       They seek information or documents that are a matter of public record, in

                       

                     8.       They seek information that Defendant is required to maintain pursuant to the Fair

                 and Indiana law.

                     9.       They seek         

             control.

                     10.      They purport to require Plaintiff to produce documents already in the possession

             of Defendant.

                     11.      They seek production of documents that have been requested from Defendant but

             have not been produced.

                     12.                 

                   

                     13.      Plaintiff reserves the right to supplement these answers.



                                                                2


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                                                      INTERROGATORIES

                 INTERROGATORY NO. 1                   With respect to any employment you have ever had with

             Forest River or any of its predecessor companies, state: (a) your date(s) of hire or rehire; (b) the

             plant(s) where you worked and the dates you worked at that plant or plants; and (c) your date or

             dates of separation.

                 ANSWER: Objection. This interrogatory seeks information that is readily accessible to

                      , and it seeks information that Defendant is

                 required to maintain pursuant to the FLSA and Indiana law. Plaintiff further objects to this

                 interrogatory as it is premature and seeks information not presently available to Plaintiff, but

                 which may be revealed as discovery continues.

                     Subject to and without waiving the objections, Plaintiff states she worked at the Centerville

                 and White Pigeon (Plant 250, Viking Co.) locations from approximately February 2014 to

                 October 2016, then again at White Pigeon (Plant 250, Viking Co.) from approximately

                 November 2017 to September 2019.



                 INTERROGATORY NO. 2                   Identify the specific Department(s) in which you worked as

             a Production Employee during the Relevant Time Period. If your Department(s) changed over

             time, provide the dates when you worked in each Department.

                 ANSWER: Objection. This interrogatory seeks information that is readily accessible to

                 Defendant      Plaintiff further objects to this interrogatory

                 as it is premature and seeks information not presently available to Plaintiff, but which may be

                 revealed as discovery continues. Subject to and without waiving the objections, Plaintiff states




                                                                 3


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                 that she moved around a lot. She started as a finish cleaner for about a year, then

                 details/graphics, and midline repair throughout.



                 INTERROGATORY NO. 3                   For each specific type of Unit you helped to manufacture as

             a Production Employee during the Relevant Time Period, provide (a) the brand name of the Unit;

             (b) a description of the Unit; and (c) the minimum and maximum number of Units you produced

             during a Workweek. To the extent that the information requested by this Interrogatory changed

             over time, note the changes and when they occurred.

                 ANSWER: Objection. This interrogatory seeks information that is readily accessible to

                       Plaintiff further objects to this interrogatory

                 as it is premature and seeks information not presently available to Plaintiff, but which may be

                 revealed as discovery continues. Plaintiff further objects to this interrogatory as it is unduly

                 burdensome and not proportional to the needs of the case, considering the importance of the

                 issues at stake in the action, the amount in controve     

                            

                 in this case, and burden or expense of responding to the interrogatory outweigh its likely

                 benefit.

                     Subject to and without waiving the objections, Plaintiff identifies Clifford and Viking, but

                 does not recall the dates or other details. Plaintiff states that production depended on supplies

                 and estimates a minimum of 15 units and a maximum of 21 units.



                 INTERROGATORY NO. 4                   To the extent that you allege you experienced Downtime for

             which you were not paid during the Relevant Time Period, identify (a) every Workweek in which



                                                                 4


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             you experienced Downtime; (b) what specifically caused you to be unable to engage in Productive

             Work during that Workweek; (c) the amount of Downtime attributable to each cause of Downtime;

             (d) any work-related activities you performed during that Downtime, whether or not you consider

               

                 ANSWER: Objection. Plaintiff further objects to this interrogatory as it is premature and seeks

                 information not presently available to Plaintiff, but which may be revealed as discovery

                 continues. Plaintiff further objects to this interrogatory as it seeks information that is in

                 Defendants possession, custody or control and/or otherwise equally accessible to Defendant,

                 and that Defendant is required to maintain pursuant to the FLSA and Indiana law. Plaintiff

                 further objects to this interrogatory as it requires Plaintiff to speculate as to the information

                 Defendant seeks.            -

                                

                 performed during any time other than Productive Work time as non-productive work was

                   

                     Subject to and without waiving the objections, Plaintiff states that non-productive time

                 varied, and usually depended on when inventory was down. They had to wait on units to come

                 down the line. On average, non-productive time ranged from several minutes to upwards of a

                 good hour, even up to 3 or more hours on occasion. During non-productive time, Plaintiff

                 helped others get things done and cleaned.



                 INTERROGATORY NO. 5                   At any time that you worked in any capacity for Forest River,

             did you ever transition from being compensated on an hourly basis for all hours worked to being




                                                                 5


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             paid primarily a Piece Rate? If so, identify each date when Forest River began paying you Piece

             Rate wages, including dates before the Relevant Time Period.

                 ANSWER: Objection. Plaintiff further objects to this interrogatory as it is premature and seeks

                 information not presently available to Plaintiff, but which may be revealed as discovery

                 continues. Plaintiff further objects to this interrogatory as it seeks information that is in

                 Defendants possession, custody or control and/or otherwise equally accessible to Defendant,

                 and that Defendant is required to maintain pursuant to the FLSA and Indiana law. Plaintiff

                 further objects to this interrogatory as it requires Plaintiff to speculate as to the information

                 Defendant seeks.

                     Subject to and without waiving the objections, Plaintiff states that she was hourly in the

                 beginning, when she was first learning for a couple of weeks. After training, they moved her

                 to piece rate.



                 INTERROGATORY NO. 6                   Did Forest River pay you on an hourly basis for some of your

             Non-Productive Work at the same time that you were typically paid on a Piece Rate basis? If so,

             identify each work-related activity you performed for which Forest River paid you an hourly wage

             for any Non-Productive Work.

                 ANSWER: Plaintiff further objects to this interrogatory as it is premature and seeks

                 information not presently available to Plaintiff, but which may be revealed as discovery

                 continues. Plaintiff further objects to this interrogatory as it seeks information that is in

                 Defends possession, custody or control and/or otherwise equally accessible to Defendant,

                 and that Defendants are required to maintain pursuant to the FLSA and Indiana law. Plaintiff




                                                                 6


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                 further objects to this interrogatory as it requires Plaintiff to speculate as to the information

                 Defendants seek. Plaintiff further objects to this interrogatory as it is duplicative.

                     Subject to and without waiving the objections, Plaintiff states, No.



                 INTERROGATORY NO. 7                   Did anyone at Forest River ever tell you that you would not

             be paid for Non-Productive Work? If so, for each instance identify: (a) the date of the

             communication(s); (b) the person or person with whom you communicated; (c) the exact content

             of the communications; (d) whether the communications were written or oral; (e) if the

             communications were oral, all persons present when they were transmitted or communicated; and

             (f) if the communications were written, all Documents referring or relating to the communications.

                 ANSWER: Objection. Plaintiff further objects to this interrogatory as it is premature and seeks

                 information not presently available to Plaintiff, but which may be revealed as discovery

                 continues. Plaintiff further objects to this interrogatory as it is overly broad, burdensome, and

                 not proportional to the needs of the case, considering the importance of the issues at stake in

                            

                              

                 and burden or expense of responding to the interrogatory outweigh its likely benefit. Plaintiff

                             s possession,

                 custody or control and/or otherwise equally accessible to Defendant, and that Defendant is

                 required to maintain pursuant to the FLSA and Indiana law.

                     Subject to and without waiving the objections, Plaintiff states that, . Further

                 answering, Plaintiff states that no one at Forest River ever communicated anything in writing

                 or said anything to him about being paid wages or not being wages for Non-Productive Work.



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

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                 INTERROGATORY NO. 8                   State the total number of straight-time and Overtime Hours

             you allege that you worked for which Forest River has not paid you.

                 ANSWER: Objection. Plaintiff further objects to this interrogatory as it is premature and seeks

                 information not presently available to Plaintiff, but which may be revealed as discovery

                 continues. Plaintiff further objects to this interrogatory as it is overly burdensome and not

                             

                 information. Plaintiff further objects to this interrogatory as it seeks information that is in

                 s possession, custody or control and/or otherwise equally accessible to Defendant,

                 and that Defendant is required to maintain pursuant to the FLSA and Indiana law. However,

                 Defendant may not have kept records of all such work. Plaintiff has requested, but Defendant

                 has              

                 this interrogatory as it requires Plaintiff to speculate as to the information Defendant seeks.

                       Subject to and without waiving the objections, Plaintiff states she will supplement this

                 answer when Forest River produces her complete time and pay records. Further answering,

                 Plaintiff states she estimates she worked 8 to 13 hours days, at times, and approximately 5 days

                 a week.



                 INTERROGATORY NO. 9                   Other than Forest River, have you ever worked for an

             employer who paid you on a Piece Rate basis? If so, provide (a) the name of the employer, and (b)

             the dates of your employment with that employer, including dates before the Relevant Time

             Period.

                 ANSWER: Objection. Plaintiff further objects to this interrogatory as it seeks information that

                 is irrelevant and immaterial to the subject litigation. Plaintiff further objects to this



                                                                 8


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                 interrogatory as it is overly broad, burdensome, and not proportional to the needs of the case,

                 considering the importance of the issues at stake in the action, the amount in controversy,

                              

                 and the burden or expense of responding to the interrogatory outweighs its likely benefit.

                 Defendant has failed to set forth a sufficient evidentiary nexus between the discovery sought

                 and a good faith basis to believe that such discovery is both relevant and proportional to the

                 needs of the case. Defendant has failed to show how the requested information relates to the

                             

                             

                 Plaintiff further objects to this interrogatory as it is asked for the purposes of burdening and

                 harassing Plaintiff. Plaintiff further objects to this interrogatory as it purports to impose

                 obligations on Plaintiff that exceed or differ from those imposed by the Federal Rules of Civil

                 Procedure, the Local Rules of this Court, or any applicable orders. Plaintiff further objects to

                          

                     Subject to and without waiving the objections, Plaintiff states she has worked at Thor

                 Motorcoach from approximately 2019 to the present, and at Heartland for approximately a

                 month after Forest River.




                 INTERROGATORY NO. 10                  At any time prior to the date when you opted into this

             Lawsuit, had you had any communications with another current or former Forest River employee

             about       If so, for each instance identify: (a) the

             date of the communication(s); (b) the person or person with whom you communicated; (c) the

             exact content of the communications; (d) whether the communications were written or oral; (e) if


                                                                9


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             the communications were oral, all persons present when they were transmitted or communicated;

             and (f) if the communications were written, all Documents referring or relating to the

             communications.

                 ANSSWER: Objection. Plaintiff further objects to this interrogatory as it is premature and

                 seeks information not presently available to Plaintiff, but which may be revealed as discovery

                 continues. Plaintiff further objects to this interrogatory as it seeks the disclosure of information

                 or documents subject to the attorney-client privilege and attorney work product doctrine.

                 Plaintiff further objects to this interrogatory as it seeks information relating to the impressions,

                 conclusions, or opinions of individuals which Plaintiff does not intend to produce as witnesses

                               -legal experts,

                 on the grounds that such information falls within the scope of the attorney-client privilege

                 and/or attorney work product immunity, is irrelevant and immaterial to the subject litigation,

                 and/or is not proportional to the needs of the case.

                     Subject to and without waiving the objections, Plaintiff states that she talked with a co-

                 worker, Mary Taylor, around the week of May 10th. Plaintiff asked if she knew about the

                 lawsuit. The discussion was verbal.



                 INTERROGATORY NO. 11                  At any time prior to the date when you opted into this

             Lawsuit, had any current or former Forest River employee ever communicated with you about

             their experiences working at Forest River plants where you have not worked? If so, for each

             instance identify: (a) the date of the communication(s); (b) the person or person with whom you

             communicated; (c) the exact content of the communications; (d) whether the communications were

             written or oral; (e) if the communications were oral, all persons present when they were transmitted



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

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             or communicated; and (f) if the communications were written, all Documents referring or relating

             to the communications.

                 ANSWER: Objection. Plaintiff further objects to this interrogatory as it is premature and seeks

                 information not presently available to Plaintiff, but which may be revealed as discovery

                 continues. Plaintiff further objects to this interrogatory as it seeks the disclosure of information

                 or documents subject to the attorney-client privilege and attorney work product doctrine.

                 Plaintiff further objects to this interrogatory as it seeks information relating to the impressions,

                 conclusions, or opinions of individuals which Plaintiff does not intend to produce as witnesses

                 at the trial of this matter, including, but not limited to    -legal experts,

                 on the grounds that such information falls within the scope of the attorney-client privilege

                 and/or attorney work product immunity, is irrelevant and immaterial to the subject litigation,

                 and/or is not proportional to the needs of the case.

                     Subject to and without waiving the objections, Plaintiff states  Further answering,

                 nothing has been withheld.



                 INTERROGATORY NO. 12                  Identify (a) all persons at Forest River to whom you reported

             during the Relevant Time Period; (b) their respective positions and titles; and (c) the dates when

             you reported to them.

                 ANSWER: Objection. Plaintiff further objects to this interrogatory as it is premature and seeks

                 information not presently available to Plaintiff, but which may be revealed as discovery

                 continues. Plaintiff further objects to this interrogatory as it is overly broad, burdensome, and

                 not proportional to the needs of the case, considering the importance of the issues at stake in

                        tive access to relevant information,



                                                                 11


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                              

                 and burden or expense of responding to the interrogatory outweigh its likely benefit. Plaintiff

                 further objects to this in        s possession,

                 custody or control and/or otherwise equally accessible to Defendant, and that Defendant is

                 required to maintain pursuant to the FLSA and Indiana law.

                     Subject to and without waiving the objections, Plaintiff identifies:

                    Tammy Tatro (QC in final finish)  around the first year of employment.

                    Brittany Reed (took over for Tammy as QC final finish)  around the first part of 2015 to
                     2106.

                    Zackary Snyder (electrical group leader)  During Plaintiffs second work period at Forest
                     River.

                    Larry Hensley - floor manager  during the last 6 months of 2016, and then Plant Manager
                     during Plaintiffs second work period with Forest River.

                    JD Boyd  Assistant Plant Manager  during the approximate last year of her employment.



                 INTERROGATORY NO. 13                  Identify all persons at Forest River who provided you with

             any training or onboarding information. For each such person, provide (a) the date of the

             communication(s); (b) the exact content of the communications; (c) whether the communications

             were written or oral; (d) if the communications were oral, all persons present when they were

             transmitted or communicated; and (e) if the communications were written, all Documents referring

             or relating to the communications.

                 ANSWER: Objection. Plaintiff further objects to this interrogatory as it is premature and seeks

                 information not presently available to Plaintiff, but which may be revealed as discovery

                 continues. Plaintiff further objects to this interrogatory as it is overly broad, burdensome, and

                 not proportional to the needs of the case, considering the importance of the issues at stake in

                                                                12


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                            

                              

                 and burden or expense of responding to the interrogatory outweigh its likely benefit. Plaintiff

                             s possession,

                 custody or control and/or otherwise equally accessible to Defendant, and that Defendant is

                 required to maintain pursuant to the FLSA and Indiana law.

                     Subject to and without waiving the objections, Plaintiff states that she cannot recall

                 specifics. A lot of people helped train her.



                 INTERROGATORY NO. 14                  Do you contend that Forest River made deductions from

             your paycheck for tools? If so, for each such deduction state: (1) the purpose for the deduction; (2)

             the amount of the deduction; (3) when the deductions were made; (4) whether you worked

             Overtime the Workweek the deductions were made; (5) whether you signed a document in which

             you purported to agree to the deduction; and (6) whether you have returned the tool in question to

             Forest River.

                 ANSWER: Objection. Plaintiff further objects to this interrogatory as it is premature and seeks

                 information not presently available to Plaintiff, but which may be revealed as discovery

                 continues. Plaintiff further objects to this interrogatory as it is overly burdensome and not

                            o relevant

                 information. Plaintiff further objects to this interrogatory as it seeks information that is in

                 s possession, custody or control and/or otherwise equally accessible to Defendant,

                 and that Defendant is required to maintain pursuant to the FLSA and Indiana law.




                                                                13


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                     Subject to and without waiving the objections, Plaintiff states that she does not recall

                 deductions for tools.



                 INTERROGATORY NO. 15                  Before the date when you opted into this Lawsuit, had you

             ever communicated with another current or former Forest River employee regarding deductions

             from their paychecks for tools? If so, for each instance identify: (a) the date of the

             communication(s); (b) the person or person with whom you communicated; (c) the exact content

             of the communications; (d) whether the communications were written or oral; (e) if the

             communications were oral, all persons present when they were transmitted or communicated; and

             (f) if the communications were written, all Documents referring or relating to the communications.

                 ANSWER: Objection. Plaintiff further objects to this interrogatory as it is premature and seeks

                 information not presently available to Plaintiff, but which may be revealed as discovery

                 continues. Plaintiff further objects to this interrogatory as it seeks the disclosure of information

                 or documents subject to the attorney-client privilege and attorney work product doctrine.

                 Plaintiff further objects to this interrogatory as it seeks information relating to the impressions,

                 conclusions, or opinions of individuals which Plaintiff does not intend to produce as witnesses

                               -legal experts,

                 on the grounds that such information falls within the scope of the attorney-client privilege

                 and/or attorney work product immunity, is irrelevant and immaterial to the subject litigation,

                 and/or is not proportional to the needs of the case. Plaintiff further objects as the interrogatory

                 is duplicative and redundant.

                     Subject to and without waiving the objections, Plaintiff states  Further answering,

                 nothing has been withheld.



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                                  VERIFICATION OF INTERROGATORY ANSWERS

                     I, Tammy Vantine, believe that the foregoing answers are true and correct to the best of

             my knowledge, information and belief. I verify under penalty of perjury that the foregoing is true

             and correct.
                             
             Executed on _______________.


                                                             ____________________________
                                                             Tammy Vantine




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                                                                  Respectfully submitted,

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                                                                  Hans A. Nilges   0074304)
                                                                  Shannon M. Draher   0076017)
                                                                  NILGES DRAHER LLC
                                                                  7266 Portage Street, N.W., Suite D
                                                                  Massillon, OH 44646
                                                                  Phone: (330) 470-4428
                                                                  Fax: (330) 754-1430
                                                                  hans@ohlaborlaw.com
                                                                  sdraher@ohlaborlaw.com

                                                                      
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                                                                  Email: mcoffman@mcoffmanlegal.com

                                                                  Counsel for Plaintiff and those similarly
                                                                  situated




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                                                 CERTIFICATE OF SERVICE

                     I, the undersigned counsel of record, in accordance with Federal Rule of Civil

             Procedure 5(a), certify that on this 27th of May, 2021, I emailed the foregoing responses to the

             individuals identified on the Service List below.


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                                                                  Counsel for Plaintiffs




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                               JORDAN ARMSTRONG
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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 SOUTH BEND DIVISION

  ALLEN GROSS, on behalf                           )
  of himself and all others similarly situated,    )
                                                   )
                Plaintiff,                         )      Case No. 3:21-cv-00616-JD-MGG
                                                   )
         v.                                        )      Chief Judge Jon E. DeGuilio
                                                   )
  FOREST RIVER MANUFACTURING, LLC,                 )
                                                   )
                Defendant.                         )

                   DEFENDANT FOREST RIVER MANUFACTURING, LLC’S
                   COMBINED MOTION TO DISMISS UNDER RULE 12(B)(6)
                       AND MEMORANDUM OF LAW IN SUPPORT

         Defendant Forest River Manufacturing, LLC (“Forest River”), by and through its

  undersigned attorneys, hereby moves to dismiss all claims plaintiff Allen Gross (“Gross”)

  asserted in his complaint pursuant to Federal Rule of Civil Procedure 12(b)(6). In support

  of its motion, Forest River states as follows.

                                      INTRODUCTION

         In his lawsuit, Gross alleges that Forest River’s timekeeping system always rounds

  time in the company’s favor and to the detriment of its employees, in violation of the Fair

  Labor Standards Act (“FLSA”). He seeks recovery of unpaid minimum wage and

  overtime premiums that he contends he is owed due to this alleged improper rounding.

         Gross has not come close to plausibly alleging any wage and hour violations on

  the part of Forest River. For starters, he was paid “primarily on a piece-rate basis,” which
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  means that his hours worked only affected his compensation in weeks in which he

  worked overtime. Additionally, his claim for unpaid minimum wages fails because he

  does not allege he earned less than the minimum wage in any workweek, and, absent a

  minimum wage violation, the FLSA does not provide a remedy for unpaid hours worked

  below the overtime threshold.

        As for his claim for unpaid overtime, Gross does not plausibly allege that he

  actually worked any unpaid overtime during his employment with Forest River.

  He alleges no facts about how any time rounding occurred in practice or the number of

  hours he actually worked at Forest River. Rather, his entire case is based on the erroneous

  assumption that a plaintiff can establish FLSA violations merely by pointing to minor

  discrepancies between hours recorded by the employer’s timekeeping system and the

  hours listed on the employee’s pay stubs. Further, Gross’s self-selected example of a

  single week in which he was allegedly underpaid six minutes of overtime per day is

  insufficient to give rise to a plausible inference that any rounding disadvantaged him or

  any other Forest River employees over the long term.




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                                FACTUAL BACKGROUND

         1.      Gross’s Allegations

         Forest River manufactures various types and models of recreational vehicles at

  plants located in Northern Indiana, and elsewhere. (Dkt. 1, Compl. ¶ 2.) Gross worked as

  a non-exempt manufacturing employee at Forest River plants in Goshen and Elkhart

  from 2015 through April 2021. (Id. ¶ 1.) Forest River paid Gross “primarily on a piece-rate

  basis.” (Id. ¶ 4.)

         Gross alleges that Forest River’s timekeeping system “recorded the time of each

  employee’s actual start of work each day and each employee’s actual work shift end

  time.” (Compl. ¶ 5.) Gross further alleges that if Forest River had calculated his wages

  and overtime “based upon these actual time clock entries, Forest River would have been

  in compliance with the FLSA and Indiana wage statutes.” (Id.) However, Gross contends

  that, at least through May 2021, the timekeeping system “consistently round[ed] work

  time entries in Forest River’s favor and to its employees’ detriment” for purposes of

  calculating hours to be paid. (Id. at 1 & 3 n.2.) Gross does not explain how this

  “non-neutral time rounding system” allegedly worked other than to assert that it

  “was designed to substantially benefit Forest River, both at the beginning of each

  employee’s shift and at the end of each employee’s shift.” (Id. ¶ 10.)

         Rather than allege any facts about the time rounding practice itself, Gross instead

  offers an example of a single workweek in which he was allegedly injured by it.



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  (Compl. ¶ 13.) By comparing the minutes between his punch-in time at the beginning of

  his workday and his punch-out time at the end of his workday to his hours paid,

  Gross calculates that he was underpaid between 2 to 39 minutes each day, for a total of

  2 hours and 17 minutes for the week beginning March 8, 2021. (Id.) Then, adding this to

  the 38.25 hours for which he was paid that week, Gross asserts that he “should have been

  paid overtime premium compensation for 32 minutes (0.53 hours) for his actual, recorded

  work time.” (Id.)

         Gross asserts that Forest River’s alleged time-rounding practice violated his right

  and that of similarly situated employees “to be properly paid minimum wages and

  overtime wages in a manner required by the FLSA.” (Compl. ¶ 34.) He states that he seeks

  to represent an FLSA collective consisting of “[a]ll current and former employees of

  Forest River who were paid based on rounded time punches (rather than actual punch to

  punch) and who worked forty or more hours in at least one workweek during the last

  three (3) years.” (Id. 20.) As of the date this motion, however, Gross had not moved to

  actually certify the purposed collective.

         Invoking this Court’s supplemental jurisdiction, Gross also asserts a claim under

  the Indiana Wage Payment Statute, IND. CODE § 22-2-5-2, for recovery of “all available

  damages” to which he may be entitled under Indiana law. (Compl. ¶ 20.) Here, Gross

  seeks to represent a Rule 23(b)(3) class consisting of “all eligible Forest River current and

  former non-exempt manufacturing employees (who voluntarily resigned) who worked



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  for Forest River in the State of Indiana and were damaged by Forest River’s compensation

  system which systematically rounded time records to Forest River’s advantage and its

  employees’ detriment and resulted in uncompensated work performed by the

  employees.” (Id. ¶ 21.)

            2.     Gross’s Involvement in the Fitzgerald Case

            This case does not arrive at this Court on a blank slate. As Gross himself

  acknowledges, this case is related to Fitzgerald v. Forest River Manufacturing, LLC, No. 3:20-

  cv-01004-DRL-MGG, which is pending before the Honorable Damon R. Leichty.

  (Compl. ¶ 1 n.1; Dkt. 3, Notice of Related Action.) The plaintiffs in Fitzgerald argue that

  Forest River’s piece-rate compensation plan violates the FLSA because it does not

  adequately compensate manufacturing employees like Gross for large amounts of

  “non-productive” time such as waiting time that they allegedly encounter each workday.

  (Fitzgerald Dkt. 1, Compl. ¶ 4.) Specifically, the Fitzgerald plaintiffs argue that this

  compensation plan violates 29 C.F.R. § 778.318(c) because manufacturing employees do

  not understand that their piece-rate pay is intended to compensate them for this

  “non-productive” time.1 For now, it suffices to say that Forest River strongly disagrees

  that its piece-rate compensation plan is illegal, and it expects to ultimately prove that in

  the Fitzgerald lawsuit. See e.g., Figueroa v. Butterball, LLC, No. 5:20-CV-585-D, 2021 WL

  4203652, at *6 (E.D.N.C. Sept. 15, 2021) (granting employer’s motion to dismiss FLSA


  1
      The Fitzgerald complaint actually cites to 29 U.S.C. § 778.318(c), but no such statute exists.


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  claim where employee failed to plausibly allege a lack of understanding of piece-rate

  compensation).

         In addition to being an opt-in plaintiff in Fitzgerald, Gross has also played a

  particularly prominent role in that litigation. After Judge Leichty denied Fitzgerald’s

  initial motion for conditional certification, Gross was one of five opt-in plaintiffs Forrest

  River deposed during phase-one discovery related to conditional certification. (Fitzgerald

  Dkt. 34, Order of Mar. 11, 2021; Fitzgerald Dkt. 56-7, Gross Depo. Tr.) Fitzgerald’s renewed

  motion for conditional certification, filed September 21, 2021, quotes liberally from

  Gross’s deposition testimony, the full transcript of which is attached as an exhibit in

  support of the motion. (Fitzgerald Dkt. 56, Plaintiff’s Renewed Motion for Step One

  Conditional Certification and Notice Pursuant to the Fair Labor Standards Act; Fitzgerald

  Dkt. 56-7, Gross Depo. Tr.).

                   LEGAL STANDARD FOR MOTIONS TO DISMISS

         A motion to dismiss pursuant to Rule 12(b)(6) tests the sufficiency of the

  complaint. McReynolds v. Merrill Lynch & Co., 694 F.3d 873, 879 n.4 (7th Cir. 2012).

  To survive a Rule 12(b)(6) motion, the complaint must comply with Rule 8(a) by

  providing “a short and plain statement of the claim showing that the pleader is entitled

  to relief,” such that the defendant is given “fair notice of what the … claim is and the

  grounds upon which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)

  (quoting Conley v. Gibson, 355 U.S. 41, 47 (1957)). The factual allegations in the complaint



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  must be sufficient to raise the possibility of relief above the “speculative level.” Id. In

  other words, the plaintiff must allege facts demonstrating that the plaintiff’s claim is

  “plausible on its face” and that there is “a reasonable inference that the defendant is

  liable.” Id. at 570; Ashcroft v. Iqbal, 556 U.S. 662, 678; Nelson v. City of Chicago, 992 F.3d 599,

  603 (7th Cir. 2021). “A pleading that offers ‘labels and conclusions’ or a ‘formulaic

  recitation of the elements of a cause of action will not do.’” Ashcroft, 556 U.S. at 678

  (quoting Twombly, 550 U.S. at 555). Moreover, a complaint should be dismissed under

  Rule 12(b)(6) “when the allegations in [the] complaint, however true, could not raise a

  claim of entitlement to relief[.]” Twombly, 550 U.S. at 558.

                                           ARGUMENT

     1. Gross Has Not Plausibly Alleged Minimum Wage Violations

         Despite a few scattered references in Gross’s complaint to alleged minimum wage

  violations, it’s unclear whether he actually intends to pursue minimum wage or “straight

  time” claims against Forest River. For example, his proposed definition for the collective

  excludes employees who did not work any overtime. (Compl. ¶ 20.) Likewise, when

  Gross complains about the additional time he says he worked the week beginning March

  8, 2021, he focuses on the amount of overtime premium, if any, he should have been paid.

  (Id. ¶ 13.) Both of these paragraphs are implicit acknowledgments that Gross has no

  plausible theory for recovery of unpaid minimum wages. But to the extent that Gross did

  intend to pursue a claim for unpaid minimum wages or “straight time” (i.e., hours



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  worked under 40 hours in a workweek), such claim is meritless, for the reasons explained

  below.

              A. Gross Does Not Allege That He Earned Less Than Minimum Wage In
                 Any Workweek

           Notably absent from Gross’s complaint is any allegation that he earned less than

  the federal minimum wage in any workweek during his employment with Forest River.

  Indeed, Gross’s complaint is completely silent about how much he actually earned at

  Forest River. That said, an employer need only pay a piece-rate employee $7.25 per hour

  or $290 per 40-hour work week to clear the FLSA’s minimum wage requirements.

  See 29 U.S.C.A. § 206; 29 C.F. R. § 778.418(b). Because Gross does not allege that he earned

  less than this amount in any workweek, he has failed to plausibly allege minimum wage

  violations on the part of Forest River.

              B. The FLSA Does Not Permit Recovery of Unpaid Straight Time Below
                 the Overtime Threshold

           If the Court generously construes Gross’s complaint as suggesting that he is

  somehow entitled to payment of minimum wages (or some other compensation) for

  additional hours worked below the 40-hour overtime threshold, such theory of recovery

  cannot overcome two insurmountable obstacles. First, as mentioned above, Gross was

  paid “primarily on a piece rate basis,” which means that his hours worked generally had

  no effect on his compensation unless he worked overtime. Second, even if Gross had been

  paid by the hour, he could recover for unpaid hours worked below the overtime



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  threshold only if the non-payment diluted his pay so much that his pay for the entire

  workweek averaged less than the minimum wage. See Jones v. C & D Techs., Inc.,

  8 F. Supp. 3d 1054, 1070 (S.D. Ind. 2014).

         “The core rights and obligations the FLSA creates are the minimum wage levels

  and entitlement to overtime pay for work above specified maximum hours set forth in

  29 U.S.C. §§ 206 and 207.” Braddock v. Madison County, 34 F. Supp. 2d 1098, 1112

  (S.D. Ind. 1998) (Hamilton, J.). Thus, “so long as an employee is being paid the minimum

  wage or more, FLSA does not provide recourse for unpaid hours below the 40–hour

  threshold, even if the employee also works overtime hours the same week.” Lundy v.

  Catholic Health Sys. of Long Island Inc., 711 F.3d 106, 116 (2d Cir. 2013). For this reason, the

  overwhelming consensus among the courts is that claims for uncompensated “gap time”

  for unpaid hours below the overtime threshold simply are not cognizable under the

  FLSA. See, e.g., Johnson v. Melton Truck Lines, Inc., 14 C 07858, 2016 WL 8711494, at *4

  (N.D. Ill. Sept. 30, 2016); Spencer v. First Student Mgmt. LLC, 15 C 9069, 2016 WL 693252,

  at *2 (N.D. Ill. Feb. 22, 2016); Goeman v. Chippewa Falls Area Unified Sch. Dist., 13-CV-168-

  JDP, 2014 WL 3556395, at *3 (W.D. Wis. July 18, 2014); Lundy, 711 F.3d at 116; Braddock, 34

  F. Supp. 2d at 1112; Jones, 8 F. Supp. 3d at 1069.

         Espenscheid v. DirectSat USA, LLC, 09-CV-625-BBC, 2011 WL 10069108 (W.D. Wis.

  Apr. 11, 2011) is particularly instructive in this regard. Like Gross, the satellite technician

  employees in Espencheid were paid primarily on a piece-rate basis. Id. at *27. They alleged



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  that defendants failed to compensate them for nonproductive work such as attending

  meetings and picking up equipment. Id. at *6. In moving for partial summary judgment,

  the defendants argued that “the FLSA does not allow plaintiffs’ claims for

  uncompensated non-overtime hours, commonly known as ‘straight-time’ or ‘gap-time’

  claims.” Id. at *6. The district court agreed, reasoning that employers do not run afoul of

  their obligation under the FLSA to “pay their employees a wage for all of the ‘work’ that

  they do … if the product of [the] employee’s number of hours worked divided by wages

  received exceeds the FLSA’s minimum wage requirements.” Id. at *13.

         In sum, Gross cannot assert a plausible claim for unpaid “gap time” because the

  FLSA does not provide a cause of action for such claims. And, because Gross cannot

  plausibly allege that he earned less than the federal minimum wage in any given

  workweek at Forest River, his minimum wage claim should be dismissed.

     2. Gross Has Not Plausibly Alleged Overtime Wage Violations Under the FLSA

         To survive a motion to dismiss for unpaid overtime compensation, plaintiffs must

  allege “some factual context that will nudge their claim from conceivable to plausible.”

  Hirst v. Skywest, Inc., 910 F.3d 961, 966 (7th Cir. 2018) (quoting Hall v. DIRECTV, LLC,

  846 F.3d 757, 777 (4th Cir. 2017)). This requires a plaintiff to “provide sufficient detail

  about the length and frequency of [his] unpaid work to support a reasonable inference

  that [he] worked more than forty hours in a given week.” Hayes v. Thor Motor Coach, Inc.,

  No. 3:19-cv-00375-DRL-MGG, 2019 WL 6352493, at *2 (N.D. Ind. Nov. 27, 2019) (quoting



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  Nakahata v. N.Y.-Presbyterian Healthcare Sys., 723 F.3d 192, 201 (2d Cir. 2013)). Here, Gross

  has fallen short of meeting this pleading burden.

         With just one notable exception discussed below, Gross’s complaint is completely

  devoid of any details regarding the extent and frequency of any unpaid overtime.

  Gross merely paraphrases the statute and states that “Gross and similarly situated

  manufacturing coworkers regularly work/worked in excess of 40 hours per workweek

  for Forest River but were not paid all overtime premium compensation owed them under

  the FLSA by Forest River.” (Compl. ¶ 3.) But courts “generally agree that broad assertions

  that employees were not adequately compensated for their hours worked in excess of

  forty do not provide the necessary factual specificity to state a plausible FLSA overtime

  claim.” Garrett v. Aquatic Renovation Sys., Inc., 119CV01509SEBTAB, 2020 WL 564282, at

  *3 (S.D. Ind. Feb. 5, 2020); see Bland v. Edward D. Jones & Co., L.P., 375 F. Supp. 3d 962, 979

  (N.D. Ill. 2019); Hayes, 2019 WL 6352493, at *2 (citing Pruell v. Caritas Christi, 678 F.3d 10,

  13 (1st Cir. 2012)).

         The only specific facts Gross alleges regarding unpaid overtime appear in

  paragraph 13 of the complaint. (Compl. ¶ 13.) Here, Gross alleges that Forest River’s

  timekeeping system recorded him present at work for 40 hours and 32 minutes the week

  beginning March 7, 2021, yet Forest River only paid him for 38 hours and 15 minutes. (Id.)

  Based on this alleged discrepancy — and this discrepancy alone — Gross alleges that

  Forest River owes him an additional .53 hours of overtime for that week. (Id.) Gross says



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  nothing at all about how much overtime, if any, he thinks he is owed for the hundreds of

  other weeks he spent as a Forrest River employee.

         Moreover, Gross never alleges that he actually performed work during all or any

  of the allegedly missing time. Rather, he seems simply to assume that Forest River is

  bound to pay him for every minute he’s present at work. As further explained below,

  however, this assumption is fundamentally flawed for at least two reasons: (1) the FLSA

  permits rounding of time and (2) time spent on the clock does not necessarily equate to

  compensable time under the FLSA.

            A. The Department of Labor Permits Rounding of Time Punches

         Despite what Gross’s complaint seems to imply, there is nothing inherently illegal

  about an employer rounding time to a convenient increment for purposes of calculating

  wages due to the employee. Indeed, Department of Labor regulations explicitly authorize

  rounding “to the nearest five minutes, one-tenth of an hour, one-quarter of an hour, or

  one-half hour as long as the rounding averages out so that the employees are

  compensated for all the time they actually work.” Opinion Letter Fair Labor Standards

  Act (FLSA), FLSA2019-9, 2019 WL 2914105, at *1 (Dept. of Labor, July 1, 2019);

  see 29 C.F.R. § 785.48(b). In other words, rounding is prohibited only if it results “over a

  period of time, in failure to compensate employees for all of the time they have worked.”

  Adair v. Wisconsin Bell, Inc., 08-C-280, 2008 WL 4224360, at *11 (E.D. Wis. Sept. 11, 2008)




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  (denying conditional certification); see Creal v. Group O, Inc., 13 C 4275, 2016 WL 3181579,

  at *3 (N.D. Ill. June 8, 2016) (denying partial summary judgment for plaintiffs).

         Here, Gross has not alleged sufficient facts to render plausible his conclusory

  assertion that any time rounding always worked “to Forest River’s advantage and to the

  detriment and harm of Forest River’s employees.” (Compl. ¶ 12.) At no point does Gross

  allege the increment of time used for the alleged rounding or offer any other details about

  how it allegedly worked in practice. He also does not allege what time he punched in and

  punched out each day, making it more difficult to draw inferences about the extent of

  any rounding.

         Nor does Gross’s self-selected example of a single week in which the rounding

  allegedly worked to Forest River’s advantage support a plausible inference that any

  rounding benefitted the company systematically and over a period of time. The whole

  point of § 785.48 is to ensure that any rounding averages out “in the long-term” across the

  employer’s entire workforce. See Corbin v. Time Warner Entm’t-Advance/Newhouse P'ship,

  821 F.3d 1069, 1077 (9th Cir. 2016). A requirement that “every employee must gain or

  break even over every pay period” would not be neutral. Id. at 1079 (emphasis in original).

  Thus, to permit a plaintiff to plead an illegal time rounding policy based only on a

  potentially unrepresentative single workweek of one employee’s time cards would

  “reward strategic pleading, permitting plaintiffs to selectively edit their relevant

  employment windows to include only pay periods in which they may have come out



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  behind while chopping off pay periods in which they may have come out ahead.” Id. at

  1077. Here, Gross alleges that he worked for Forest River from 2015 through April 2021.

  Accordingly, it is not reasonable to infer from his self-selected example of just one

  workweek during that entire period that any rounding consistently worked to benefit

  Forest River at the expense of its employees.

             B. Gross Does Not Allege That He Actually Performed Work During All of
                the Hours He Was Punched In

         Gross’s complaint also assumes, incorrectly, that an employee must always be

  compensated “from actual time punch in to actual time punch out.” (Compl. ¶ 11.)

  The Department of Labor regulations, however, provide that employees who clock in

  early before their shift begins or clock out late after their shift ends need not be paid

  provided that “they do not engage in any work.” 29 C.F.R. § 785.48(a); see Weil v. Metal

  Techs., Inc., 925 F.3d 352, 357 n.6 (7th Cir. 2019); Kellar v. Summit Seating Inc., 664 F.3d 169,

  177 (7th Cir. 2011). In other words, “an employee can clock in, grab a coffee, read the

  newspaper, and then start working once his scheduled shift begins — and an employer

  wouldn’t have to compensate him for that time.” Weil, 925 F.3d at 357; see also Tom v.

  Generac Power Sys., Inc., 17-C-1413, 2018 WL 3696607, at *5 (E.D. Wis. Aug. 3, 2018)

  (denying conditional certification and rejecting argument that mere act of clocking into

  work places employer on notice that employee has started work for the day).

         Because “time spent clocked in is not automatically compensable,” Kolish v. Metal

  Techs., Inc., 216CV00145JMSMJD, 2018 WL 1566810, at *6 (S.D. Ind. Mar. 30, 2018), an


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  employee may not recover against his employer based purely on an alleged “discrepancy

  between their scheduled hours and the time clock.” Weil, 925 F.3d at 357 n.6.

  The employee must instead show that they “were actually working without compensation

  — not simply that they were clocked in for over 40 hours.” Id. at 357–58 (emphasis in

  original). Yet nowhere in the complaint does Gross allege that he worked during all of

  the extra time that he claims was captured on his time card but not reflected on his

  paychecks. Indeed, Gross admits that he worked scheduled shits on a production line

  and sometimes clocked in before his shift began, but pleads no facts to support the

  inference that he engaged in any pre-shift work.

         Moreover, Gross would not have been entitled to any overtime premiums for the

  one week he offers as an example unless he worked nearly every single minute from punch

  in to punch out each day. According to the complaint, Forest River underpaid Gross by

  a mere six minutes of overtime per day during the workweek in question. (Compl. ¶ 13.)

  This calculation, however, is based solely on the minutes for which Gross was allegedly

  clocked in, which means that Gross would not have any unpaid overtime that week

  unless approximately 99% of the time from punch in to punch out was, in fact,

  compensable. In other words, Gross’s claim for unpaid overtime compensation is based

  entirely on the erroneous assumption that Forest River must pay him for every single

  minute he is on the clock. As previously explained, that is not what the FLSA requires.

  See 29 C.F.R. § 785.48(a); Weil, 925 F.3d at 357.



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         Because Gross does not allege how many hours he actually worked during the

  week in question — or any other week — Gross fails to adequately allege a plausible

  claim for unpaid overtime. The court should therefore dismiss his overtime claim as well.

     3. This Court Should Also Dismiss Gross’s State Law Claim

         Gross’s claim under the Indiana Wage Payment Statute (“IWPS”) appears to be

  entirely derivative of his claims under the FLSA. Because Gross has failed to adequately

  plead any viable claims under the FLSA, his derivative IWPS claims fail as well and

  should be dismissed on that basis. See Kellar v. Summit Seating Inc., 664 F.3d 169, 178 (7th

  Cir. 2011) (“Kellar concedes that her state law claim under Indiana’s Wage Payment

  Statute (“IWPS”) is derivative of her FLSA claim. The only difference between the two

  claims in this case is that Kellar’s FLSA claim seeks damages for unpaid hours worked

  over 40 hours in each workweek, while her IWPS claim seeks damages for unpaid, pre-

  shift hours for those workweeks during which she worked less than 40 hours and for

  which the FLSA would not provide compensation. Because we have concluded that

  Summit is entitled to summary judgment on Kellar’s FLSA claim, we conclude that

  Kellar’s IWPS claim fails too.”); Kolish v. Metal Technologies, Inc., No. 2:16-cv-00145, 2018

  WL 1566810, at *9 (S.D. Ind. Mar. 30, 2018).

         Alternatively, if this Court were to conclude that Gross’s IWPS claim is not

  derivative of the FLSA claim, then this court should decline to exercise supplemental

  jurisdiction over the IWPS claim. “[I]t is the well-established law of this circuit that the



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  usual practice is to dismiss without prejudice state supplemental claims whenever all

  federal claims have been dismissed prior to trial.” Hayes, 2019 WL 6352493, at *4 (quoting

  Groce v. Eli Lilly & Co., 193 F.3d 496, 501 (7th Cir. 1999)).

                                         CONCLUSION

         For these reasons, defendant Forest River Manufacturing, LLC, respectfully

  requests that the Court dismiss all claims plaintiff Allen Gross has asserted in this lawsuit

  and grant Forest River such other relief as this Court deems appropriate.

                                              Respectfully submitted,

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                                   Certificate of Service

        I hereby certify that on October 12, 2021, a copy of the foregoing was filed

  electronically. Service of this filing will be made on all ECF-registered counsel by

  operation of the Court’s electronic filing system. Parties may access this filing through

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                                           s/ Michael C. Terrell
                                           Michael C. Terrell




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